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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

UNITED STATES OF AMERICA, 19 71420 JCS
1971421 JCS
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Plaintiff,

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BRENDA ADDISON,
ADVENT CARE INC.,
AMITY HOME HEALTH CARE INC..
BHUPINDER BHANDARI,
CATHERINE CARIAGA,
MERVINA DEGUZMAN,
SAL DEL ROSARIO,
ANDRE NICOLAS GAY,
MARIAM HASAN,
KIMBERLY HICKS,
YELENA KABANSKAYA,
APRIL MANCUSO,
GERALD MYINT.

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TAM NGUYEN, CR 3 1971450 JCS
REBECCA PINA, CR 3 1971451 JCS
JUAN POSADA, CR 3 19 71452 JCS
CAROLINE PRESCOTT, CR 3 19 71453 JCS
KERISIMASI REYNOLDS, CR 3 19 71454 JCS
BELINDA ROY, CR 3 1971455 JCS
GELNNDA SANTOS, CR 3 19 71456 JCS
EWELINA SCZENDZINA, CR 3 19 71457 JCS
RIDHIMA “AMANDA”® SINGH, CR 3 19 71458 JCS
VINEETA SINGH, CR 3 1971459 JCS
NICOLE SUNO, CR 3 19 71460 JCS

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SCOTT TAYLOR, ) STIPULATED MOTION AND [PROPOSED]
STELLA TEODORO, )}) ORDER TO CONTINUE PRELIMINARY
TERENCE TIRONA, ) EXAMINATION HEARING FROM
HENRY WATSON, ) DECEMBER 12, 2019 TO FEBRUARY 12, 2020
ZHENG ZHANG, )

)

Defendants. )
)

 

 

 

The United States, by and through its counsel, Assistant U.S. Attorney William Frentzen, and all
defendants in the above-referenced case, by and through their counsel, hereby respectfully request that
the preliminary examination hearing currently scheduled for December 12, 2019 at 10:30 a.m., before
Magistrate Judge Thomas S. Hixson, be rescheduled to February 12, 2020 at 10:30 a.m. before the Duty
Magistrate Judge. This will provide the defendants adequate time to review discovery with counsel
before the next appearance in the matter before the district court. The parties agree to waive time for
both the preliminary examination and under the Speedy Trial Act.

IT IS SO STIPULATED.
Dated: December 10, 2019 Respectfully submitted,

DAVID L. ANDERSON
United States Attorney

/s/
WILLIAM FRENTZEN
Assistant United States Attorney
Dated: December 10, 2019
/s/

Counsel for All Defendants

 
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[PROPOSED] ORDER
Upon the motion of the parties, and for good cause appearing, IT IS HEREBY ORDERED that
the preliminary examination hearing in the above-captioned cases, currently scheduled for December 12,
2019 at 10:30 a.m. before Magistrate Judge Thomas S. Hixson is rescheduled to February 12, 2020 at
10:30 a.m. before Duty Magistrate Judge. Time for the preliminary examination and under the Speedy

Trial Act is waived in the interest of justice and for effective preparation of counsel.

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HON. THOMAS S. HIXSON
United States Magistrate Judge

IT IS SO ORDERED.

 

 
